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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                        MDL NO. 2924
    PRODUCTS LIABILITY                                                                 20-MD-2924
    LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART

    _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

    JOINT STIPULATION RELATING TO BOEHRINGER INGELHEIM DEFENDANTS

          Plaintiffs Co-Lead Counsel in the above-captioned matter and Defendants Boehringer

   Ingelheim International GmbH (“BII”), Boehringer Ingelheim Promeco, S.A. de C.v. (“BI

   Promeco”) (collectively and individually, “BI Foreign Defendants”), and Boehringer Ingelheim

   Pharmaceuticals, Inc. (“BIPI”), by and through their undersigned counsel, hereby stipulate:

          1.      BIPI stipulates that all discovery directed to it by Plaintiffs’ Co-Lead Counsel in

   this MDL shall be deemed to encompass and include the BI Foreign Defendants in the Master

   Personal Injury Complaint (“Master PI Complaint”), Consolidated Consumer Class Action

   Complaint and Consolidated Third-Party Payor Class Action Complaint (collectively, the “Class

   Complaints”) filed in MDL 2924, and BIPI shall produce all responsive and discoverable facts,

   documents, information, materials, ESI, including custodial files, and witnesses, including

   30(b)(6) depositions within the possession, custody or control of the BI Foreign Defendants. BIPI

   shall not object to such discovery requests on the basis that the information requested is within the

   possession, custody, or control of the BI Foreign Defendants. Notwithstanding the foregoing, BIPI

   reserves the right to object to requests for discovery on all other grounds including, but not limited

   to, undue burden, relevance, lack of proportionality and privacy restrictions or concerns, within
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   the appropriate time for raising such objections. The BI Foreign Defendants agree that the terms

   of any MDL PTO regarding authenticity of documents will apply to all documents, information,

   including ESI, and materials produced by BIPI on behalf of the BI Foreign Defendants. Such

   productions shall be made in accordance with and shall be subject to the terms of PTO 25 (Privilege

   and Work Product), PTO 26 (Confidentiality) and PTO 29 (ESI Protocol). Nothing in this

   stipulation obligates BIPI or the BI Foreign Defendants to violate any foreign law requirements

   with regard to discovery, but BIPI and the BI Foreign Defendants shall cooperate in good faith

   with Plaintiffs to fulfill discovery obligations under U.S. law in a manner that avoids or minimizes

   any such conflict, including the use of PTO 26 (Confidentiality).

          2.      The BI Foreign Defendants acknowledge their ongoing preservation obligations in

   this MDL and agree to abide by the terms of PTO 28.

          3.      BIPI stipulates that all requests for deposition directed by Plaintiffs’ Co-Lead

   Counsel to its current and former employees shall be deemed to encompass and include current

   and former employees of the BI Foreign Defendants (“BI Foreign Defendants Witnesses”) located

   outside of the United States, and shall not object to such notices of deposition for BI Foreign

   Defendants Witnesses on the basis that they are or were employed by the BI Foreign Defendants

   outside of the United States. BIPI reserves the right to object to such notices of deposition on all

   grounds other than that the witness is or was an employee of the BI Foreign Defendants Witness

   including, but not limited to undue burden, relevance, or lack of proportionality. For any deposition

   of a BI Foreign Defendants Witness located outside the United States, the parties agree to meet

   and confer to select a deposition location most convenient to the witness, taking into consideration

   any rules or regulations that govern the permissible locations for a deposition in the jurisdiction

   where the witness resides. The BI Foreign Defendants will in good faith seek agreement of any
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   former employee whose deposition is requested to be bound by this paragraph. This paragraph

   shall not apply to any former employee who declines such agreement despite the BI Foreign

   Defendants’ good faith efforts, and BIPI and the BI Foreign Defendants agree not to furnish legal

   representation to such person in connection with such deposition unless legally obligated to do so.

   To the extent that BIPI or the BI Foreign Defendants undertake representation of a former or

   current employee for purposes of this litigation, BIPI and the BI Foreign Defendants agree that

   any deposition that takes place will be governed by the forthcoming Deposition Protocol to be

   entered in this MDL.

          4.      The parties further agree to meet and confer in good faith to establish reasonable

   limitations on the number of document custodians and depositions for BI Foreign Defendants

   Witnesses located outside the United States. To the extent agreement cannot be reached between

   counsel on such limits, such dispute will be decided by the MDL Court.

          5.      BIPI stipulates that it will not object to deposition testimony of BI Foreign

   Defendants Witnesses or BI Foreign Defendants documents, including ESI, produced by BIPI,

   being considered an admission of a party opponent pursuant to FRE 801(d)(2), provided such

   testimony and documents would otherwise be considered an admission of a party if the BI Foreign

   Defendants were still a party in this action.

          6.      BIPI stipulates that the BI Foreign Defendants are affiliated companies; that BIPI

   is the proper party in interest for purposes of all claims asserted against the BI Foreign Defendants

   in this litigation; and that BIPI shall not argue that the BI Foreign Defendants are at fault instead

   of BIPI.

          7.      The BI Foreign Defendants agree that in the event that Plaintiffs’ Co-Lead Counsel

   join or add the BI Foreign Defendants to the MDL litigation pursuant to paragraph 9 below, such
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   addition or joinder shall relate back, for statute of limitations purposes, as though the BI Foreign

   Defendants had not been dismissed from the Master PI Complaint and the Class Complaints.

          8.      BIPI and the BI Foreign Defendants represent that BIPI has the financial ability to

    satisfy any future judgment in this matter. BIPI shall furnish documents or information sufficient

    to show that it is adequately capitalized to satisfy any such judgment. In the event that BIPI

    cannot furnish such proof, the provisions of paragraph 9 below shall apply. For avoidance of

    doubt, paragraph 9 below shall be the exclusive remedy in case of a breach of this paragraph, and

    nothing in this stipulation shall create any duty or obligation on the part of the BI Foreign

    Defendants to fund or satisfy any judgments against BIPI.

          9.      BIPI and the BI Foreign Defendants agree that Plaintiffs’ Co-Lead Counsel retain

   the right to join or add the BI Foreign Defendants to the litigation in the future in the event

   Plaintiffs’ Co-Lead Counsel believe reasonably and in good faith that the BI Foreign Defendants

   or BIPI have not complied with the terms of this Stipulation. In such event, service on the BI

   Foreign Defendants must be made in accordance with the Federal Rules of Civil Procedure, and

   the BI Foreign Defendants specifically reserve the right to raise personal jurisdiction and/or venue

   defenses.

          10.     In consideration of the BI Foreign Defendants’ agreement to the terms of

   paragraphs 1 - 9 above, Plaintiffs’ Co-Lead Counsel stipulate and agree to the following:

                  a.      This stipulation is the product of arm’s length negotiations between

   Plaintiffs’ Co-Lead Counsel and counsel for BIPI and the BI Foreign Defendants.

                  b.      The BI Foreign Defendants shall promptly be dismissed from the Master PI

   Complaint and the Class Complaints without prejudice to later addition or joinder pursuant to

   paragraph 9 above. All dismissals of the BI Foreign Defendants pursuant to this Stipulation shall
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   be effected by an unopposed or joint motion to drop the BI Foreign Defendants as parties under

   Federal Rule of Civil Procedure 21, rather than Federal Rule of Civil Procedure 41, so as to

   preserve the finality for appellate purposes of any judgments later entered as to any remaining

   parties.

                  c.      This stipulation applies to all cases transferred to and/or directly filed in this

   MDL, including currently pending cases and future cases that are directly filed in and/or

   transferred to this MDL. Plaintiffs’ Co-Lead Counsel shall use their best efforts to ensure that all

   Plaintiffs’ counsel in the MDL shall voluntary dismiss the BI Foreign Defendants without

   prejudice from all actions currently pending in MDL 2924. Plaintiffs’ Co-Lead Counsel shall use

   their best efforts to ensure that the dismissals occur within 30 days of the date of this stipulation.

                  d.      In the event a Plaintiff in an action pending in MDL 2924 does not stipulate

   to entry of an Order dismissing the BI Foreign Defendants without prejudice, the BI Foreign

   Defendants may seek relief from the Court. In seeking relief from the Court, the BI Foreign

   Defendants may submit this stipulation in support of their motion for relief.

                  e.      All Plaintiffs’ counsel appointed to a leadership role in this MDL agree they

   shall not name the BI Foreign Defendants as defendants in any future action directly filed in and/or

   transferred to MDL 2924. If any other MDL Plaintiffs’ counsel desires an exemption from the

   terms of this stipulation, said counsel shall file a motion requesting such exemption and seek a

   ruling from this Court that the BI Foreign Defendants may be added to the complaint. Such motion

   shall be made prior to the BI Foreign Defendants being named in the complaint, and must establish

   good cause for an exemption from the terms of this stipulation.

                  f.      In the event any Plaintiff obtains an exemption to name the BI Foreign

   Defendants in a complaint, that Plaintiff may not avail himself or herself of the terms of this
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   stipulation, and service on the BI Foreign Defendants must be made in accordance with the Federal

   Rules of Civil Procedure and the Hague Convention. In addition, discovery taken of the BI Foreign

   Defendants pursuant to this stipulation shall not be provided to or usable by such Plaintiff unless

   the BI Foreign Defendants consent to such use.

                  g.      Upon request by counsel for BIPI or the BI Foreign Defendants, Co-Lead

   Counsel for Plaintiffs agree to use their good-faith efforts to coordinate with and encourage the

   entry of this stipulation in any state court litigation, if possible. Nothing in this stipulation shall

   act as a waiver of the BI Foreign Defendants’ jurisdictional defenses.

                  h.      This stipulation has been agreed to in the interests of resolving disputes in

   this MDL proceeding only, and does not constitute any admission on the part of the BI Foreign

   Defendants or BIPI as to jurisdiction over the BI Foreign Defendants or its amenability to

   discovery in U.S. Courts.

                  IT IS SO STIPULATED, this 14th day of August 2020.



    /s/Robert C. Gilbert                                        /s/ Andrew T. Bayman
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 14th day of August, 2020, I filed the foregoing JOINT

   STIPULATION RELATING TO BOEHRINGER INGELHEIM DEFENDANTS electronically

   through the CM/ECF system, which will provide automatic notification to all CM/ECF

   participants.

                                                               /s/ Andrew T. Bayman
                                                               Andrew T. Bayman
